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MINUTE ENTRY
VANCE, J.
FEBRUARY 26, 2014

                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                   CRIMINAL

VERSUS                                                     NO. 11-95

EFRAIN GRIMALDO (CUSTODY)                                  SECTION "R"

                                JURY TRIAL

CASE MANAGER: JAY SUSSLIN
COURT REPORTER: SUSAN ZIELIE

APPEARANCE:      JOHN MURPHY AND TED CARTER, AUSA
                 EDDIE JORDAN, JR., FOR DEFENDANT
                 EFRAIN GRIMALDO, DEFENDANT

Court begins at 9:15 a.m.
Government's witnesses continue:
Charity Foreman, sworn and testified as an expert.
Special Agent William "Larry" Johnson, sworn and testified.
Exhibits offered and admitted.
Break 10:15 a.m. to 10:30 a.m.
Government rests.
Jury OUT:
Motion by defendant for judgment of acquittal, argued, DENIED.
Jury IN:
Defendant rests.
Jury excused at 10:35 a.m. for Lunch.
Court questions defendant as to his intent to not testify. Defendant
responds that he does not wish to testify.
Charge conference with counsel.
Counsel excused for Lunch at 11:05 a.m. to return at 11:30 a.m.
Jury IN:
Closing Argument of Counsel.


 JS10(05:30)
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Jury Instructions read by the Court.
Alternate jurors excused from deliberations.
Jury retires at 1:10 p.m. to deliberate,
Jury IN:
Defendant present.
Audio recording played for jury.
Jury retires to continue deliberations.
Jury returns at 3:45 with a verdict.
Verdict read into the record.
Jury thanked and excused.
Pre-Sentence Investigation is ORDERED.
SENTENCING set for WEDNESDAY, JUNE 11, 2014, at 9:30 a.m.
Defendant is remanded to custody to return on the date set for sentencing.
Court adjourned at 4:00 p.m.
